                                                                                     FILED
                                                                               IN CLERK'S OFFICE
                                                                          U,S, 01$TRICT COURT E.O.N.Y.
                                     INFORMATION SHEET

                            UNITED STATES DISTRICT COURT
                                                                          * FEB 25 2020 *
                            EASTERN DISTRICT OF NEW YORK LONG ISLAND OFFICE


1.      Title of Case: United States v. Jonathan Berretta et al., (S 1) 20-CR-029 (JMA)

2.      Related Magistrate Docket Number(s): 19-MJ-1203, 20-MJ-99, 20-MJ-112, 20-MJ-
        162

3.      Arrest Date: 12/24/2019 (Jonathan Berretta); 01/27/2020 (Taylor Pick); 02/03/2020
        (Maureen Serra); 02/20/2020 (Benjamin Downs)

4.      Nature of offense(s):    IZl Felony
                                 □    Misdemeanor

5.      Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local
        E.D.N.Y. Division of Business Rules): _N_/A
                                                  _________________

6.      Projected Length of Trial:     Less than 6 weeks       ~

                                       More than 6 weeks       □

7.      County in which crime was allegedly committed: __Su..;;.;. ;___
                                                                    flfo;;;..;;;l~k_ _ _ _ _ _ _ __
        (Pursuant to Rule 50.l(d) of the Local E.D.N.Y. Division of Business Rules)

8.      Was any aspect of the investigation, inquiry and prosecution giving rise to the case
        pending or initiated before March 10, 2012.                   □ Yes    lg]   No

9.      Has this indictment/information been ordered sealed?          □ Yes    IZl No

10.     Have arrest warrants been ordered?                            □ Yes    IZl No

11.     Is there a capital count included in the indictment?          □ Yes    IZI No

                                                      RICHARDP.DONOGHUE


                                              By:
                                                      Justina L. Geraci-----
                                                      Assistant U.S. Attorney
                                                      (631) 715-7835



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